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     Debtor    1           Amy_1. Bennett
                          Frrst Namie


     Debtor 2
     (Spouse. rf fr ng)                                  Mrddle   Name                 Last Ndtrje


     United States Bankruptcy Court for         the        lrastefll [)istfict rrl'Kcntuch,r'
                                                                                                     (stare)
     case   number 1 6-30037
      ( t known)




    Official Form 427
    Gover Sheet for Reaffirmation Agreement                                                                                                                                             12t15
    Anyone who is a party to a reaffirmation agreement may fill out and file this form. Fill it out completely, attach it to the reaffirmation agreement,
    and file the documents within the time set under Bankruptcy Rule 4009.


EEEE               E*ptain the Repay-e,rt                Ter-s of the Reaffir-atio,, Agreeme,rt

l     who is the          creditor?
                                                United states of Alne_Lca, USDA Rural Houslru service
                                            Vame ot tne creOitor


2     How much is the             debt?     on the date that the bankruptcy case is              filed $ 4,3gg.4g_
                                            To be paid under the reaffirmation agreement $                     4,403.03_
                                                  S 22.57 per month for 330                  months (if fixed intere$t rate)


3.    What is the Annual
      percentage Rate            (ApR)      Before the bankruptcy case was          filed                           4.250
                                                                                                                            -y"
      of interest? (See
      Bankruptcy Code                       Under the reaffirmation aqreement                                       4.250 y" d          Fixed rate
      s 524(kX3XE).)
                                                                                                                                  E     Adjustable rate

4     Does collateral secure
      the   debt?                           !     No
                                            M ves.       Describe the    collateral. Residential Real                       Estate PropertV - See Attached Documents

                                                         currenl market    value             $L1t        50        0-
5.   Does the creditor             asset
                                      t     El
     that the debt is                             No
      nondischargeable? C yes. Attach an explanalion                               of the nature of the debt and the basis for contending that the debt ts nondischargeable.


6.   Using information from Income and expenses reported on Schedules I and                                    J            Income and expenses stated on the reaffirmation agreement
     Schedule I: Your lncome
     (Official Form        1061)   and
     scheduteJ:Your 6a.Combinedmonthlyincomefrom $1880.52                                                                   6ie.Monthlyincomefromall          sources         $1_8_8_QJ2
     Expenses (Official Form line 12 of Schedule |                                                                                3fter pavroll deductions
      106J),   fill in the amounts.
                                           6b. Monthlyexpensesfrom line         22co'f_ $1                                  6f. Monthtyexpenses
                                                Schedule    J                                        - 869.53                                                             -   $1_85   913
                                           ."
                                                HlliHJ#Sii|i.?ii[0.. _ s0._9!_ ,,                                                 i3:?lg#J&ii,i"i?;,,',0"0,"
                                                                                                                                                                          _ e 0. 00
                                                Schedule J                                                                        monthly expenses

                                           6d.Schedulednetmonthlyincome $ 1 0                           _   q9          6h.       presentnetmonthlyincome $                     1   0. 99
                                                Subtract lines 6b and 6c from 6a                                                  Subtract lines 6f and 69 from 6e
                                                lf the total is less than 0, put the                                              lf the total is less than 0, put the
                                                number in brackets.                                                               number in brackets.
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       Are the income amounts            & No
       on lines 6a and 6e                 tr    Yes. Explain why they are different and complete line     1O
       different?




B.    Are the expense                    E No
       amounts on lines 6b                tr    Yes.     Explain why they are different and complete line 10
       and 6f different?




      ls the net monthly                 E      No
      income in line 6h less              tr    Yes. A presumption of hardshjp arises (unless the creditor   is a credjt union).
      than 0?                                            Explain how the debtor will make monthly paymerrls on the reaffirmed debt and pay other Iiving expenses
                                                         Complete line 10.




1   0. Debtor's certification
       about lines 7-9                                                    explanation on lines 7-9 is true and correct

      lf any answer on lines 7-9 is
      Yes, the debtor must stgn
      here.
                                                                                       It   tL(_               x
      lf all the answers on lines 7-9
                                                                                                                   Signature of Debtor 2 (Spouse Only In a Joint Case)
      are No, go to line 11


1   1. Did an attorney represent         D     No
      the debtor in negotiating          m Yes.       Has the attorney executed a declaration or an affidavit to support the reaffirmation agreement?
      the reaffirmation
      agreement?                                      Druo
                                                     I    ves




Whoever fills out this form             I certify that the attached agreement is a true and correct copy of the reaffirmation agreement between
                                                                                                                                                the
must sign here.                         parties identified on this Cover Sheet for Reaffirmation Aqreement.




                                                                                                                                   D"te 04     / 15 /2016
                                                                                                                                          IIM /DD/YYYY


                                          Lisa F- Osborne
                                               Pnnted Name




                                             Check one:

                                             El      Debtor or Debtor's Attorney
                                             e       Creditor or Credjtor's Attorney
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                                                                                               CJrct'k one.

                                                                                                l-i Prcsumption of I nduc llardship
                                                                                                k-l \u Prcsumption ol'I nduc llartlship
                                                                                               See Debtor's Stutenenr in Support oJ lleul/irnation,
                                                                                               Part ll belott', to deternine which box to tht'ck.




                                           UxrrEo Srarps Baxrnuprcy Counr
                                                              Eastern District of Kentuckv

          Amv     L   Bennett
 ln re                                                                                                                     No. 16-30037
                                        Deb/rtr
                                                                                                                Case                                   _
                                                                                                                Chapter                        7



                                                       REAFFI RMATION DOCTJ MENTS

                                        Name of creditor:      _United states of America, USDA Rural Housing Service

                      [-l    Cn..t this box i1'Crediror is a Credit          Union


 PART      I. REAFFIRMATION AGREEMBNT
Reaffirming a debt is a serious financial clecision. Before entering into this Reaffirmation
Agreement, you must review the important disclosures, instruct,ions, and definitions found
                                                                                             in part V of
this form.
                                                                                         Promissory Note and/or
A.   Brief description             of     the original agreement being reaffinned: S.rbsidy          RLpaymentRgreement                            _
                                                                                                     llt r'xrttttplt.   (tutu   l(\ut

B. AMOUAIT             REAFFIRMED:                         $ 4,403.03
           -fhe
               Amotttlt Reaffirmed is the entire atnount that you are agreeing to pay. This rnay include
           unpaid principal, interest, and fbes and costs (if any) arising on or befbre
                                                                                          04tl,2t2016
           which is the date of the Disclosure Statement portion of this fbnn (par-t Vt.

           see tha da/inition              of "Antounr Reo//irmctl" in purt v, sectiop c       belotr,.

C'   The AI\TNUAL PERCENTAGE RATE applicable to the Amount Reaffirrned
                                                                                                              is          4.2s0         yio.


          see de./inition              of "Annuul percentuge Rate" in purr v, secrion c'below.

          This is ,) (c'trtt.A         u,,r,V      Fixcd   rate                l-l   Variable rare

If the loan has a variable rate, the tLrture interest rate may increase or decrease
                                                                                    from the Annual percentage Rate
disclosed here.
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                                                                                                                       l)rp.c 2


  D. Reafflrmatio'            Agreement Repaymcnt Terms          (chcc'k ancl c.ontprete   ,ne):

                         $ zz.st        per month   fbr 330           months starting       on     O4tj1t2}16

                        Describe repayment terms. including whether future payment amount(s) may
                                                                                                 be different figrn
                        the initial payment amount.




 E. Describe the collateral, if any. securing the debt:

                        Description:                      Residential Real EstatqProperty - See Attached Documents
                        Current Market Value              b

 F'   Did the debt that is being reaflinned arise from the purchase of the collateral described
                                                                                                above?

                 Yes. What was the purchase price for the collateral?                              $ 4,800.00

                 No.     What was the amount of the original loan?

 G'  Specify the clranges rnatle by this Reaffirmation Agreement to the most recent
                                                                                    credit terrls on the reafljrmed
 debt and any related agreement:
 There are no changes in terms due to the Reaffirmation.
                                 Terms as of the                                           lferrns After
                                 Date of Bankruptcy                                        f(eafflrmation

           Balance due (including
           .fccs und t'o.sl.s)                  $__a,+o:.os                                $iN/A - no change
           Annual Percentage Rate               __       4.250   Yo
                                                                                           _N/A - no chanle
           Monthll'Payment                      S__      zz.sz                             $li,/a - no change
H'L-J             thi-s box if the creditor is agreeing to provide you with additional
                                                                                       future credit in connection with
           9ltt-k
           this Reaf1lrmation Agreement. Describe the credit lirnit. the Annual percentage
                                                                                                Rate that applies to
           future credit and any other terrns on future purchases and advances using
                                                                                        such credit:




PART       II.        DEBTOR'S STATEMENT IN SUPPORT OF ]REAFFIRMATION AGREEMEN'I

A'   Were you represented by an attorney during the course of negotiat.ing
                                                                           this agreement?

          Check      one.      ll] v.t              No

B. Is the creditor a credit union,l

          Check      one.      lly.,         Eno
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                                                                                                                            l,age   -l


 C. If youranswerto Ell'HER question A. or B. above is "No." corlplete l. and 2. below.

      I   .    Your preserrt monthly inconre and expenses are:

               a. Monthly income           fro'r ail sources after pay'roll deductions
               (take-home pay plus any other incorne)
                                                                                                         $ 1 880.52
              b. Monthly expenses (including all reaffirrred debts excepr
              this one.)
                                                                                                        $r   o:0.   og
              c. Amount available to pay this reaffirrned debt (subtract b. fiom a.)
                                                                                                        $   za:-sr
              d. Arnount of nlonthly payment reqLrired for this reafflrmed debt
                                                                                                        $ 22.57     _
              I/ thc monthll'pttyntcnl on lhi.v rectffirntetl tlebt (line rl is greater thun the amount yru have
                                                                                                                       tnuilal-tle t,
              pttl'thi's rau.ffirmed tlebt (line c'.),
                                                         -vou must c'heck rhe hox or the lop o.f'page one rhar says "presuntprion
              tt/ (lndue Hurd'thip." Olhenrise, you ntu.st c'hcck rhe box at the tip qlpig, one that say,s ,,No
              P re.s unt 1tt i on rt' Llnclue Hard.sh ip. "


    2'        You believe that this reatllrmation agreement will not impos;e an undue hardship
                                                                                               on you or your
              dcpendents because:

              Check onc of the two statements below, if applicable:

                         Yott can aflbrd to make the payments on the reatJlrrned debt becaLrse your morrthly
                                                                                                             income                 is;
                         greater than your ntonthly expenses even alter you include in your expenses
                                                                                                     the monthly
                         pavments on all debts you are reaflirming, including this one.

                        You can afford to make the payrnents on the reaffirmed debt even though your monthly
                                                                                                               incorne
                        is lcss than your rnonthly expenses after you include in your expenses the monthly
                                                                                                           payments on
                        all debts you are realfirrning. inclLrding this one, because:




              Use an additional page         if   neecJed   fbr a firll explanation.

D. If y'our answers to BOTH questions A. and B. above were "yes,', check
                                                                         the following
statement. i f appl icable:

                        You believe this Reaffirmation Agreement is in your flnancial intercst
                                                                                               and you can aftbrd to
                        rnake the paynrents on the reafJlnned debt.

Also, c'hec'k lhe box at lhe top t|/ puge ona thut says "lVo Pre.suntpti6n
                                                                                         ol   Undue Hcytlship.,,
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PART           III. CEITTIFICATION I]Y DtrBTOR(S)                                    AND SIGNA'| URES OF PARTIES
I hereby certify that:

              (l)              I agree to reaffirm the debt described above.

              (2)              Befbre signing this Reafllrmation Agreernent. I read the terms disclosed in this Reaffirmation
                               Agreement (Part I) and the Disclosure Staternent, Instructions and Definitions included in Part
                               below:

              (3)              The Debtor's Statement in Support of Reaffirmation Agreement (Part                                       II above)   is true and
                               complete;

              (4)              | am entering into this agreernent voluntarily and arn fully informed of my rights and
                               responsibilities: and

              (5)              I have received a copy oI'this completed and signed Reaffrrmation Documents fbrm.
SICNATUI{E(S) (lf this is a.joint Reaffirmzr}ion Agreemert, both debtors must sign.):
                                                                     i |      '+(/ttLr.fl. 'i4.'r.               tl
Dateo_+/ts/ta                                         Signaturc    _(.L,'"t.
                                                                        tT--tra;           .1


Date
                                                                    ---
                                                      Signaturc
                                                                                        ,/oittt l)ebtor. if anv
            -_-

Reaffirmation Agreement Terms Accepted by Creditor:

Creditor USDA. Rural Housing                          Service              P O Box 66879, St Louis, MO 63166
                                      Print.\dtn('                                                         .-1c{dre.ss


               William E. McClain                                          (   .li   ,, ,..",.,.,,.-,   a- il;\: Li          .^,'-   04t12t2016
                      P   ri   nt \onte tf'   lleprese nlatit'e                             Signattrre                                   l)ale



PART IV. CERTIFICATION BY DEBTOR'S ATTORNEY (IF ANY)
                   To bc /ilt:cl onlv i.l the ultorne.v represented tha debtor during the colu.s|rlf'negotiating this agrcement

I herebl'certifl that: (l) this agreernent represents a firlly informed and voluntary agreement by the debtorl (2)
this agreernent does not impose an undue hardship on the debtor or iany dependent of tne debtoi; and (3) I have
lirlly advised the debtor of the legal effect and consequences o1'this agreement and any default under this
agreenlent.

l-ln        pr.rurnption o1'undue hardship has been established with resp,;ct to this agreement. In rny opinion.
hor,r,ever. the debtor is able to make the required payment.

                     il   lhe pre.sumption o.f'undue hurd,ship box i,s checkecl on puge                                  I   und lhe creclilor is not u Cretlit
Lnion

DaIe 04        /   15     / 16       Signature of Debtor's Attorney

                                    Print Name of Debtor's Attorney                     Lisa F. r]sborne
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PART         V. DISCLOSUITE STATEMENT AND INSTRUCTIONS TO DEBTOIT(S)
Before agreeing to reaffirm a debt, review the terms disclosed in the Reaffirmation Agreement (Part I
above) and these additional important disclosures and instructions.

Reaffirming a debt is a serious financial tlecision. The law requires you to take certain steps to make surr: the
decision is in your best interest. If these steps, which are detailed in the Instructions provided in Parr V. Sectiol
B below, are not cornpleted. the Reaffirrnation Agreement is not efltctive, even though you have signed it.

A.          DISCLOSURB STATEMBNT

    l   .   What are your obligations if y'ou reaffirm a debt? A real firrned debt remains your personal lega1
            obligation to pay. Your reafflrrned debt is not discharged in your bankruptcy casb. l'hit rneans thit if
            you default on your reatflrrned debt alteryour bankruptcy case is over. youicreditor may be able to take
            your property or your wages. \'our obligations will be determined by the Reaffirmation Agreernent,
            which may have changed the terms of the original agreement. If you are reaffirrning un ope-n end credit
            agreement. that agreernent or applicable law rnay perrnit the creditor to change the terrns of that
            agreement irr the f uture under ceftain conditions.

   2.       Are_.vou required to enter into a reaffirmation agreement by any law? No, you are not requirecl to
            real'1lnn a debt by any law. Only agree to reaffirm a debt if it is in your best interest. Be sure vou can
            afford the payrnents that yoll agree to rnake.

   3'       Wt l.t if I'our creditor has a security interest or lien? Your bankruptcy discharge does not elirninate
            any lien on your property. A "lien" is often refbrred to as a security interest, deed of trust. mortgage. or
            security deed. The property stlbject to a lien is often ref'errerl to as collateral. Even if you do not'
            reafflrtn and your personal liability on the debt is dischargecL. your creditor may still have a right unr1er
            the lien to take the collateral i1'1'ou do not pay or default on the clebt. If the coilateral is persoial
            propertl' that is exelrpt or that the trustee has abandoned, you rnay be able to redeern the item rather
            than reafflrln the debt. 'l'o redeem. you Inake a single payment tothe creditor equal to the current value
            ol'the collateral. as the parties agree or the court determines.

  4.        Holv soon do you need to enter into and file a reaffirmation agreement? If you decide to enter intcr
            a reaf llrmation agreement. you tnust do so before you receive your discharge. After you have entere:d
            into a reafflrmation agreernent and all parts of thisfonn that require a signiture have been signed. either
            you or the creditor should file it as soon as possible. The sig;ned agreemint must be llled witi t6e cgurt
            no later than 60 days afier the flrst date set fbr the rneeting of creditors, so that the cour-t will have tirne
            to schedulc a h.earing to approve the agreement if approval is; required. However, the court may extend
            the tirne fbr filing, even after the 60-day period has'ended.

  5.        Can you cancel thc agreement? You may rescind (carrcel) your Reafiirmation Agreement at any tirnc
            befbre the bankruptcy court enters-)'our clischarge, or during ine oo-day period thaibegins on the date
            your Reaffirmation Agreement is filed with the court, whichr;ver occuis later. To ,.r."ind (cancel) your
            Reafflrmation Agreement, you must notify the creditorthat
                                                                          1,our Reaffinnation Agreerneni is rescincled
            (or cancelcd). Rernernber that you can rescind the agreement. even if the court approves it.
                                                                                                         as long as
            1,ou rescind within the tirne allorved.
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      6.     When will this Reaffirmation Agreement be effective?

             a. If you were represented by an attorney during the negotiation of your Reaflirmation
             Agreemcnt and

                      i'  if the creditor is not a Credit Union, your RealTirmation Agreement becomes eff-ective',ryhen
                      it is filed with the court unless the reaffirmation is presumed to be an undue hardship. If the
                      Reafflrrnation Agreement is presumed to be an undue hardship, the court must review it and nray
                      set a hearing to delermine whether you have rebutted the presumption of undue hardship.

                      ii. if the creditor is a Credit Union, your ReaffirmeLtion Agreement becomes effective when it
                      is llled with the court.

            b. lf you were nol represented by an attorney during the negotiation of your Reaffirmation
            Agreement. the Reaffirmation Agreernent will not be eff-ective unless the courl approves it. To have the
            court approve your agreement, you mLlst flle a motion. See Instruction 5, below.'the coLrrr will notifv
            you and the creditor of the hearing on your Reafflrrnation Agreement. You rnust attend this hearing. ai
            y*hic! time the judge will review your Reaffinnation Agreernent. If the judge decides that the
            Reafflnnatjon Agreem,ent is irr your best interest, the agreernent will be ippioved an<J will become
            efl-ective . Ilowever. if your Reatlirmation Agreement is 1'or a consumer debt secured by a mortgage.
            deed of trLrst. security deed, or other lien on )'our real property, like your home, you do not n""JtJfil. u
            motion or get court approval of your Reatflrrnation Agreentent.

            Y.hut if you have questions about what a creditor can clo? lf you have questions about reaffirrning a
     7.
            debt or what the law requires. consult with the attorney who helped you negotiate this agreement. ll'lou
            do not have an attorney helping you, you mav ask the judge to explain the Jffect of thisigreement to
            you at the hearing to approve the Reaff.innation Agreement. When this disclosure refers io what a
            creditor "lnay" do, it is not giving any creditor permission tc, do anything. The word "may" is used to
            tell you what rnight occLrr if the law permits tlie creditor to take theactio-n.

B.          INSTRUCTIONS

     l.     Review these Disclosures and carefully consider your decisi,cn to reafflnn. If you want to reaffirm,
            review and complete the infbrmation contained in the Reaffirrnation Agreement (Part I above). If your
            case is a joint case, both spouses must sign the agreement if both are reiffl.rningihe debt.

     2.     Complete the Debtor.'s Statemcnt in Support of Reafllrmation Agreernent (Palt Ilabove). Be sure that
            )'oLl can atlbrd to make the payntents that you are agreeing to make and that you have received a cop,y of
            the [)isclosure Staternent and a completed and signed Reallir:mation Agreem-ent.

     3.     If-r'oLr were represente.d.by an attorney during the negotiation of your Realfirrnation Agreentent. yoLlr
            attorneY must sign and date the Certiflcation lly Debtor's Attorney (Par-t tV above).

     4.     You or yoLtr creditor must file with the court the original of this Reaff-irmation Docuntents packet anC      a
            completed Reaft'irmation Agreement Cover Sheet (Official Eiankruptcy Form 27).

     5.     [f ,t'ou ure nol reprcseltted by..an ollorney, you musl olso complete und./i/e with lhe court u.\epururc
            clrtcumenl cnlitlecl "MolionJbr_(.'ourt Approvul of Rea.//irnut'ion Agreinent" unle.ss ysur nei.fiirmut,irn
            Agreemenl i's.fbr a consltmer debt securecl hy u lie n oi your real pioperly, .such os yrrr,, home.' you can
            use Fonn Il240B to do this.
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C.          DBFINITIONS

     l.    "Amount Reaflirmed" lreans the total amount of debt thal you are agreeing to pay (reaflirm) by
           enteringintothis.agreement, Thetotal amountofdebtinclurdesanyui'paidi..rrnacoststhaiyorur"
                     10.pay that arose on or befbre the date of disclosure. whic"h is ine Jaieip..in.O
           {sre.glng                                                                                     in the
           Realllrmation Agreement (Part I, Section B above). Your credit agreement ruy'obligute
                                                                                                          you to pa1,
           additional amounts that arise after the date o1'this disclosurer. You-should .onrrlt your
                                                                                                       credit agreernent
           to determine whether you are obligated to pay additional amounts that may arise aiter
                                                                                                     the date of this
           disclosure.

   2.                 Percentage Rate" means the interest rate on a loan expressed underthe rules required
           litnnY?t                                                                                                by
           f-ederal larv' J'he antlual percentage rate (as opposed to the "statid interest
                                                                                           rate") tells yo, th. tulllost
           of your credit including many of the credito.r'il-ees and charges. you will find ihe
                                                                                                    annual percentage
           rate lbr your original agreement on tlre disclosure statement iiiat was given
                                                                                           to you when the loan pul,.r,
           were signed or on the monthly statements sent to you fbr an open endlredit account
                                                                                                      such as a credit
           card.

   3.      "crcdit Union" means a flrrancial institution as deflned in l2 U.S.c. 461(bXl)(A)(iv).
                                                                                 $                 It is ownecl
           and controlled by and provides flnancial services to its members and typicaily
                                                                                          u#s words like ,"Credit
           Union" or initials Iike "C.U"" or.,F.C.U." in its name.
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  rnernorlgagor ,s
                                  ("Secunry In$rrumenr,,) rs made
                                                                                  on          September:             1"1                , 2010        (orrcl
                                              Afny   Benneit , an un*"rried                                 woman
   'Iltrs Securrty
                   Inst'urrcnt rs grvcn to rhc unircd states
                                                             of Arnerrca actrng                          througlrr]l:Ir*J        Housi,g. service or succcssor ,[.?il",ff;r;i
  3:H:,,,Tll'ff;:,:i,ff::*t;jff;*:'[,-*[:**:i;;'"'ifi'J'ii"J,,:"**:Scrvicc,                                                   c/o ccntrar-hzed se,vrcrng ce.rcr, Unrred
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  Borrowcr rs rndcbtcd (o Lendcr unclcr.
                                         thc following promissory notcs and/or
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 and the No rc' and (d) tlrc
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                                                                                  , Statc ol'Kcnrucky




 wfrrch has thc address      of         475 Davis Lake Road, Owenton,
 Krrrucky                 40359       IZU'l
                                                          {S   rr   r.l   )
                                                         ("Propeny Acidrcss,,):                                                      tLrryl



              SEE ATTACHED LEGAL DISCRIFTION



Accor&ng to the      i;m
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                                                                                                                                                                   Page   I of   6
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                                            Legal Description

                                              Amy Bennett


      Address: 475 Davis Lake Road, Owenton,       Ky   4035g

        Commencing at an iron pin in the west right of way line of said
                                                                              Lake Road comer ro
        Delmas Castle(Deef Book 146, Page 325) thence with the west
                                                                               right of way line of
        Lake Road S8-06W 122.09 feet to an iron pin; thence with the
                                                                            arc of a curve in a
        counter clockwise direction with the following curve data: Delta
                                                                              angle .. 22 degiles, +r
        minutes, chord distance'" 221,81 feet, chord bearing ,.,53-158,
                                                                             radius distance 563.35
       tbet.to an iron pin, being the Southeast corner of Loi 'fhree
                                                                        and the true point of
       beginning of Lot Four; thence with the West right of
                                                                'aray line of Lake Road along the
       arc of a curve in a counler clockwise direction ivith
                                                              rhe following curve data;
       Delta angle ' 23 minutes, chord distance .,- 3.g2 feet, chord
                                                                         bearing -. s24-4gE, radius
       " 563.35 feer to an iron pin; thence sr5-00E g7.00 fer:r ro an iron
       feet to an iron pin; thence leaving Lake Road right of way
                                                                               fin, sl-seE io.oo
                                                                       N 73-56w I 77.00'feet to an
       iron pin; thence N l8-24w 100.0b feet to an iroi pin b,eing the
                                                                           Southwest corner of Lot
       Three; thence with the South line of Lor Three Sti t - t :;g
                                                                    izs.oo feet to the poini of
       beginning, containing 0.39 acres of land, more or less., subject
                                                                           to easernent.
       Subject to any and alleasements, restriction, conditions,
                                                                 and legal highways of record
       andlor in existence


       P:ile the.same properry conveyed to Amy Bennett by william walker and Donita
       walker,tis-r.yife, by de-ed dated september l l, z00g;and recorded
                                                                          in Deed Book 226,
       Page 479 of the owen county court clerk's records,'at
                                                               owenton, Kentucky.
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         TocEll-lliR wlrFl all the lmprovetnents    now or lrereafter erected o^n the properg, and
   and Ilxrures whtclt nrw.or-hereaftei
                                           u-potiorurc pr"p.irv.-aii ,-"iru.r*ents an'd additions       all easements, appurtenances,
 ' securrrv Iltstrument All                     'i"
                            of the ror"g"'ng-,ii.i"""a-i.'i" ittir's.;;;,;i".,rument                     shalr arso be covered bv rlus
                                                                                       as rlre ,,p'oper.ry.,,
          BoRRoweR covENANTS that Borrower is lawfully
                                                                      scrsed of thc,esrare hcreby con-veyerr
     arld convcy thc Prooerfy and tlrat rtre ptopi,rv ts.unencumber.a,                                       ryd has ilie rrght to ;granr
     wrlldefend gcneraliy thl trtlc to ttti F*p."t                         .*".pt fo.r encumbranccs of record. Borrower w:arrarrti; ano
                                                    iguinst rll ;l;,*r ;;i'i"*"#.nar, subjecr   ro any encumbr.anccs of rccord
          Trlis sr.ctmITY INSTItuIvIENT combines untform
     vartattons b1'lurrsdrctton
                                                         covcnatrts for natronal         usc and no'-unirorm cove'ants wrth rmrrted
                               to constitute a uniform securrty mstrument
                                                                          covero.,g real property.
          LTNIFORM      coVENANTS. Borrower and Lender covenant and
                                                                                 agree as folrows:
           I Paytnertf of Principnl and Interest; Prepayrnent nrrd Late charges.
     pttttctpal of and rnterest on ihe debt                                                   Borrower shall promptly pay when
                                            evidenced tllir:i,i;;,;;.i'.;"i;;;p'rymcnr                                               <Ju* the
           2 Iiunds for Tares attr'l lnsuratttu.                                           and rare charges due u'der rhe Note.
                                                   iuult.r to apphcable iu'* Jr-rc a writtcn
  Lender on the dav monthlv pavnr;il             ;;
                                              a"ui-i-a.r d,i'*"t",
  laxes and assessrncnts whrch rnay attain prioriw                      ;;i                waiver Fy LenrJer, Borrower shall pay ro
                                                                         rr,i,-r,r"r"'ir'ijiiii n rr, t" lum (,,Funds,,) for: (a) ye arty
                                                     ove.r.thrs    s..l'rv
                                                                       inst urnent as a
  paymenls ot grourtd rcnts on thc
                                     Property, if iny;.i"1 y.aiiy ri"7r:i?r.prop.rry he' on tir" Froperty; (b) yearly leasehol,
  Itlsturnce ptemrtttns' rf any Tlrese rtirnsire
  arnount rol !o ex';ced the maxrtnum amount
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                                                a lender rri tioiiirry ,"lirca rnortgagu.loan
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 any tune' collect a-nd hold Funds ur "iriair"ir"grr"ii." rrriiippir"r
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 on tltc basts of current data and t"utoniul"isri.ot.r exceed rh"'l!;;;
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 apphcable law                                          of iip,iiiarir"-i'"irr,,;;;   E,;ffi i'*i,Jii',jrr,.rwrse rn accordance  wrrrr
   - The Funds shall be h.eld. by a federal agcncy (.urcJudurg Lender) or in an insritution whose deposirs are
  ledcral ag€ncy' tnstrumentalrry, or entrry.
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  u.rrowcr for holdrne arrd applying trt" ftunot,'u*u"rry,a"iryzn[,j,i'il.ro*
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  requttc Borrowcr lo DaY a ottc-iime
                                            Fu"i.l'ii3qnr1"iur",r;;;;;;r;cndcr accouDr,           or verrfoing rhe Escrow rtems, unless
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  be pard' Lender shall not,be-req"ittg                                                    rs.madc or apprrcabre row requ'es inrcresr
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  madc Tl:e Funds are oledgecl ut iaaiiiinrr Bnd debits ro the FrrJt;;lthe.purpose for which cach debit to r.be Fu'ds was
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       If tire Funds hela by"Len;c;;;;;iillr'ou,,r,                               by thrs securiry Insrrurnenr.
 Borrower for rlte exccss frurds ttr accorilancc-rrnth
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                                                                 permrrted to be rheld.!v a*ricabre law,
                                                           G;i;l;;"i"",riiiprrrrcuuri tii,i.-'ritri"'irr,our,,   Lcncicr sl:a' account ro
  Lender at any timc is not sufflcieut to pay                                                                       of rhe Fuuds rrcld by
                                                tte ricrow rrcmi *i,eo J*,-L*n.r., may so       notify B<irrower in wrrrrng, anrj, rn sucrr
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       Uporr pavrnent rn tull of''li  ilt;';;il;v                                                               'ur.,
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                                                               sGr,ry'i**,n.^,:!,L:ndcr         shalt prornptry.rcfund to Borrower any
                                                             ,t" 9i"iJn/iti* accelcrarron under paragra prtzz,.Lender,
 f,:l:i'J:T."J'::t;"fi"r::""fi1,;ili.,:,|:ilrv       ariv Funai   h;ii;;;;;;"'     "r.G"
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       r' Al)l)liclttionof
-l-etrder'urtdcr paragraphsl'ayntents. Unlessapnlicablelawor.Lcnder'sregul;rtionsqloul*otherwise,al-paynrenrsr.ecerveclby
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plotcctton of tlte Proocrtv or.euforcem.nt
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tJtese ob'gations in r'c"ma*er
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duectlv to tlte person oweil pavment.                                           ,u ri.,or ma,rner, Bonower slra* pay rhcrn on r*ne
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             If Borrower ma'kei these ilfi;il                                               ;;;;iJi'iioun* ro be pard u.der *rrs
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5:ff:unf                                                                                                     recerpts evrdencrng        rJre
       Borrowcr shall promptlydischarge any lien whclr
\''rtrng lo such lien or gorrowcr:                           hasprrority ovcr this; sccurity Insrrume'r
acceptable ro Lender: {b)
                                   (ui ueii";;"                                                         unless Lender
                                                      y,l]1g,to'rrrc payrneniof ure obrigation ,."rr.o by thc lienhas    agreed in

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f:'op!Ty ts subScct to a lien which may altaul ],-:f! ovcr this
roentrtvL'19 t'c licn Bor'ower                     frrorrty           s".Liirv.losr.n menl, Le,rrder. mry grve gorrower ot.rle
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     . Bon'ower slrall pay to Lender suclt fees                        as,nlay n:y_o., hereafter bc required byregulatrons
  ano pay ot tettnbtttle Lender for all of Lender's
                                                  "nf,^otl:r_clrarges                                                         of L*nder,
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  suborduratron t-,f rhrs r'srrumenr or any othe, transatt;&;lG;G                                                             releare or
       5'   I{azard or l)r'opcrty lrtsurnncc.                             r#iiop.nv
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  Propcrtv tnsured asanst loss bv fire, hazardi includea *,rrrin-trL
  0oods or floodrni for whrch           e;;;;q"il;                         Ji.i  4i1;;..j;i    ;ffi;i'.il]      any orher hazards rncludurg
                                                       tnsurance Thrs rnsurance shalr be maintained in tlre anou'ts
  pe rrods that Lendlr requtres    -t tnsureJ pi"ttaire
                                  rne                                                                                            arrd fo,r the
                                .
  wluch shall not be utueasonably
                                                             iiiiltrru*rir- rriurr r* chose n by Bonower subjecr to Lender,s        aonrcval
                                     wrthhcld irBono'i", farli       ro;;il;;     coveragc cteic'bed-ubove, ar Lender.,s opri*n'Lender
  may obta'r coverage ro prot€c( Lendecs.'ghrsin tle
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        AII Lnsurancc polrctes and renewals ittttt ue u 'ro* 'r"..prlili" paragraph ?.
   -
 clause Le'der shall have dre rrght to hold the pone      .r res and rcnewals        i"LEn,iCr and shall include a srandard mortglagce
 Lcnder all rererpts of pard pt"miums atra i"ni*at nolices                           rir-""a.ir.q*r;;,'ii";;;;;,iliru;ilii;;ll.              ,"
                                                                      lrr thc evcnt of loss, gorrower sharr grve prompt notrce
 rruurance can'rer and Lcnder Lendcr rnay makc proof                                                                                   trr the
                                                              of loss if nor made promptly
       unless Lender artd Bo.rtower otherwrse agrie ru wrrtrng,                              tt  B;;r;*;;:
                                                                       rnsurancc giro.edds'shill be ipfirco to rcstoratiou
 the P'operty darnaged, ti'the restoratrorl or reparr                                                                            or reprrLr of
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 Bonowcr abandorts the Properfu,           d*aili          -!"i"*ri,rr"r      i;'";,fii;";r",
                                                    i:::;:^yi*:r-,:.r;.y tibi days a norrce from L-ender .hatpard          ro Borrower. tf
 iras offered to settle a                                                                                              rhe i*surance carrier
                          gtliir, rtii,r"ar-.no.i-ma!,cottect the rnsuranie proceeds. Lender rnay
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                                                                                                                 rhe ihirty (ro)      dayle'oci
     Unless Lender and Bon-ower otherwrse ae
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       o'   I'rcservatiotr- Maintetltncc, atld Protec(ion
                                                                   thc Propcrty; B0rrower,! Loan Applicatiorrl Leasc,orrrs
  Botrower sltall nor od:Tpl      oil;;;-;r-;p;;
  Property Borrower shall marntarn-tl't rnrprtuenrcnts
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                     at dte Note tuG *J;;;in";"v;[]";;;ih-,'iii"*;upon                              slag bear. mreresr froni rhc
ilh".l,u'to*sulncnt                                                                          notice fio,u   lino"r   to Borrower rcquesrmg
     I' llefinanci"c ll.llyI-trmc it shatl       appear to Lcndcr t.lra( Borrower may be
cooperallve   or   Prlvate credll source' at reasonible                                  able to obtain a roan [.om a rcsronsibre
Lerrdcfs r"quesi, applv foiand                          ;gt il    ,"rrr"ior"rlrrs.         lbr simrlar purposes, Borrower wrlr, ur:on
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                                                                   UNITED STATES OEPARTIYIENT                                               OMB No. 0575.0.72
                                                                                              OF ,A,GRIGULTURE
                                                                            RURAL HOUSING SERUCE


                                                                            PROMISSORY NOTE
         Type ot' Loan SECTION
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